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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND



LA UNIÓN DEL PUEBLO ENTERO,
PROMISE ARIZONA, LYDIA
CAMARILLO, and JUANITA VALDEZ-
COX,

                       Plaintiffs,          Civil Action No. 8:19-cv-02710-GJH
       v.

WILBUR L. ROSS, sued in his official
capacity as U.S. Secretary of Commerce,

STEVEN DILLINGHAM, sued in his
official capacity as Director of the U.S.
Census Bureau,

U.S. DEPARTMENT OF COMMERCE,
and

U.S. CENSUS BUREAU,

                       Defendants.



     ORDER GRANTING PLAINTIFFS’ MOTION FOR EXPEDITED DISCOVERY
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       This Court having read and considered Plaintiffs’ Ex Parte Motion for Leave to Conduct

Expedited Discovery:

       IT IS HEREBY ORDERED that the Motion is GRANTED; and

       IT IS FURTHER ORDERED THAT Plaintiffs have leave to conduct limited discovery in

the form of a Federal Rule of Civil Procedure 45 subpoena(s) to non-party records custodian

Common Cause and/or Stephanie Hofeller for documents subpoenaed in Common Cause v.

Lewis, No. 19 CVS 014001 (N.C. Super.) that relate to redistricting work done by Dr. Thomas

Hofeller.



SO ORDERED this 14th day of November, 2019.



                                                           By _/S/________________________

                                                                  Paula Xinis
                                                                  United States District Judge




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